
Affirmed by unpublished per curiam opinion.
Unpublished opinions are not binding precedent in this circuit.
PER CURIAM:
In these consolidated appeals, William Scott Davis, Jr., appeals the district court’s orders affirming the bankruptcy court’s orders returning several documents that Davis attempted to file in a closed bankruptcy matter. We have reviewed the record and find no reversible error. Accordingly, we affirm for the reasons stated by the district court. In re Grice, No. 4:15-cv-00059-RBS-DEM, 2015 WL 11112155 (E.D. Va. filed Nov. 10 &amp; entered Nov. 12, 2015); In re Grice, No. 4:15-cv-00077-RBS-DEM (E.D. Va. filed Nov. 10 &amp; entered Nov. 12, 2015). We deny Davis’ motion to supplement and motions for appointment of counsel. We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before this court and argument would not aid the decisional process.
AFFIRMED
